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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                              §
  UNITED STATES OF AMERICA                    §
                                              §
  v.                                          §        CRIMINAL NO. 3:16-CR-0240-B
                                              §
  CELESTINE OKWILAGWE (1)                     §
  a/k/a TONY OKWILAGWE,                       §
  PAUL EMORDI (2),                            §
  ADETUTU ETTI (3),                           §
  LOVETH ISIDAEHOMEN (4),                     §
                                              §
  Defendants.                                 §


                         MEMORANDUM OPINION AND ORDER

        Before the Court is Defendant Paul Emordi’s Motion for Judgment of Acquittal and for a

 New Trial (Doc. 276). For the following reasons, the Court DENIES the Motion.

                                                  I.

                                        BACKGROUND

        On December 20, 2017, Defendant Paul Emordi was named in a second superseding

 indictment charging him with one count of conspiracy to commit health care fraud under 18

 U.S.C. §§ 1347 and 1349. Doc. 113, 2d Superseding Indictment, ¶¶ 41–60. Specifically, the second

 superseding indictment accused Celestine Okwilagwe, Paul Emordi, Adetutu Etti, and Loveth

 Isidaehomen of conspiring to defraud Medicare and Medicaid “by concealing defendants Celestine

 Okwilagwe’s and Paul Emordi’s ownership interests and managerial roles in Elder Care and by

 submitting false and fraudulent claims to Medicare and Medicaid for reimbursement to which Elder

 Care was not entitled.” Id. ¶ 43. Okwilagwe and Etti were also separately accused of making false

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 statements in health care documents for falsely representing that Gloria Ogabi was the sole owner

 of Elder Care, while Okwilagwe and Isidaehomen were in fact the sole owners of the company. Id.

 ¶¶ 61–64.

         On October 22, 2018, Emordi and the other three codefendants stood trial. After the

 presentation of evidence, the Court instructed the jury that in order to find Emordi guilty of

 conspiring to commit health care fraud, they had to find beyond a reasonable doubt:

         (1) That the defendant and at least one other person made an agreement to commit
         the crime of health care fraud, as charged in the second superseding indictment;

         (2) That the defendant knew of the unlawful purpose of the agreement; and

         (3)That the defendant joined in it willfully, that is, with the intent to further the
         unlawful purpose.

 Doc. 252, Jury Charge, 9. The Court further instructed that the Government “need not prove that

 the alleged conspirators entered into any formal agreement, nor that they directly stated between

 themselves all the details of the scheme.” Id. Next, the Court instructed the jury that, in order to find

 the defendant guilty of conspiring to commit health care fraud, they must also find beyond a

 reasonable doubt that Emordi made an agreement to commit a crime consisting of the following

 elements:

         (1) That the defendant knowingly and willfully executed, or attempted to execute,
         a scheme or artifice (a) to defraud a health care benefit program, Medicare and/or
         Medicaid, or (b) obtain money or property owned by or under the control of a health
         care benefit program, Medicare and/or Medicaid, by means of false or fraudulent
         pretenses, representations, or promises, in connection with the delivery of, or
         payment for, health care benefits, items or services;

         (2) That the defendant acted with a specific intent to defraud a health care benefit
         program;

         (3) That the false or fraudulent pretenses, representations, or promises that the

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         defendant used were material; and

         (4) That the operation of the health care benefit program affected interstate
         commerce.

 Id. at 10.

         After the Court gave these instructions, the jury found Emordi—and the other three

 codefendants—guilty on all counts. Doc. 253, Jury Verdict, 18–19. On November 12, 2018, Emordi

 moved for a judgment of acquittal and for a new trial. Doc. 276. The Court now considers his

 Motion.

                                                  II.

                                       LEGAL STANDARD

 A.      Motion for Acquittal

         A motion for judgment of acquittal under Federal Rule of Criminal Procedure 29 “challenges

 the sufficiency of the evidence to convict.” United States v. Medina, 161 F.3d 867, 872 (5th Cir.

 1998) (citing Fed. R. Crim. P. 29(a)). In assessing such a motion, the Court must consider the

 evidence, all reasonable inferences drawn from the evidence, and all credibility determinations in the

 light most favorable to the jury’s verdict. Id. The Rule 29 standard does not require the evidence

 exclude every reasonable hypothesis of innocence. United States v. Loe, 262 F.3d 427, 432 (5th Cir.

 2001). Rather, a judgment should be affirmed “if a rational trier of fact could have found that the

 evidence established the essential elements of the offense beyond a reasonable doubt.” United States

 v. Klein, 543 F.3d 206, 212 (5th Cir. 2008) (quoting United States v. Westbrook, 119 F.3d 1176, 1189

 (5th Cir. 1997)). Thus, the jury retains the sole authority to weigh any conflicting evidence and

 evaluate the witness credibility. Loe, 262 F.3d at 432.


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 B.     Motion for New Trial Under Federal Rule of Criminal Procedure 33

        Federal Rule of Criminal Procedure 33 provides that “[u]pon the defendant’s motion, the

 court may vacate any judgment and grant a new trial if the interest of justice so requires.” Fed. R.

 Crim. P. 33(a). Whereas a Rule 29 motion turns on the sufficiency of the evidence, a motion under

 Rule 33 turns on whether the weight of the evidence supports the verdict. See Tibbs v. Florida, 457

 U.S. 31, 42 (1982). The Court is granted broad discretion in making a determination based on the

 weight of the evidence. United States v. Robertson, 110 F.3d 1113, 1118 (5th Cir. 1997). Thus, in

 assessing a motion under Rule 33, a court may weigh the evidence and assess the credibility of

 witnesses. United States v. Tarango, 396 F.3d 666, 672 (5th Cir. 2005). A verdict cannot be set aside

 simply because another result would be more reasonable. Robertson, 110 F.3d at 1118. Rather “[t]he

 evidence must preponderate against the verdict such that it would be a miscarriage of justice to let

 the verdict stand.” Id.

                                                  III.

                                             ANALYSIS

        Emordi argues that while the Government may have proven that he was excluded from

 working for a company that received benefits from Medicare and/or Medicaid and that he did work

 for such a company, the Government failed to prove he joined a conspiracy with the specific intent

 to commit health care fraud. Doc. 276, Emordi’s Mot., 1. Emordi supports his argument by making

 specific objections to the Government’s witnesses and the sufficiency of the physical evidence. Id. at

 5–9. The Government, in turn, details the evidence supporting Emordi’s conviction and responds

 to the criticisms of Agent Hernandez’s testimony. Doc. 288, Gov’t’s Resp. The Court will reexamine

 the evidence supporting Emordi’s conviction and address objections to witness testimony where

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 relevant.

        In short, the scheme for which Emordi was convicted at trial involved the following

 components: (1) that Emordi knew that he and Okwilagwe were excluded from government health

 benefit programs; (2) that Emordi and Okwilagwe continued to work at and manage Elder Care

 while excluded; (3) that Emordi knowingly and willingly agreed to conceal his and Okwilagwe’s

 involvement in Elder Care to benefit from Medicare and Medicaid funding; and (4) that they

 profited from this scheme. In his motion, Emordi does not dispute that he was excluded from Elder

 Care and that he worked at Elder Care after the exclusion. Doc. 276, Emordi’s Mot., 1. Instead, he

 disputes that there was evidence showing he agreed to join a conspiracy to commit health care fraud.

 Id. As such, the Court will not rehash in detail the evidence supporting the first two components of

 the conspiracy, but rather will focus on what evidence at trial supported a finding that Emordi had

 the intent to enter into this conspiracy.

        In order to sustain a conviction for conspiracy to commit health care fraud, the Government

 needed to show at trial “the existence of an agreement between two or more people to pursue the

 offense of fraud; the defendant knew of the agreement; and the defendant voluntarily participated

 in the conspiracy.” United States v. Barson, 845 F.3d 159, 163 (5th Cir. 2016) (quoting United States

 v. Delgado, 668 F.3d 219, 226 (5th Cir. 2012)). “The agreement may be silent and informal between

 conspirators.” Id. “Further, voluntary participation may be inferred from a collection of

 circumstances, and knowledge may be inferred from surrounding circumstances.” Id. at 163–64

 (quoting United States v. Stephens, 571 F.3d 401, 404 (5th Cir. 2009)).

        To start, the evidence at trial supported the conclusion that Emordi knew both he and

 Okwilagwe were excluded from Medicare and Medicaid. As stated, Emordi does not challenge the

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 fact that he was excluded from participating in these programs. Doc. 276, Emordi’s Mot., 1. Further,

 there was evidence that Emordi knew of his exclusion and knew of Okwilagwe’s exclusion. In 2010,

 Emordi, Okwilagwe, and Isidaehomen were all named in the same indictment charging health care

 fraud related to their operation of a durable medical equipment company, South Medical Supply and

 Equipment. Gov’t Exs. 62, 64, & 64. They were accused of using this company to fraudulently bill

 Medicaid. Id. Later, on the same day in 2012, Emordi and Okwilagwe both pleaded guilty to

 misdemeanor theft. Gov’t Exs. 63 & 65. Because of their pleas, they were subsequently excluded from

 participating in Medicare or Medicaid. Gov’t Exs. 6 & 9. Emordi received two letters notifying him

 of his exclusion. Gov’t Ex. 9. Emordi and Okwilagwe proceeded to file their appeals for their

 exclusions on the same day. Gov’t Exs. 6 at 10–11 & 9 at 10–11. Emordi later admitted to federal

 agents that he signed and filed his appeal. Doc. 288-1, Gov’t’s App’x (Tr. Hernandez), 200, 203.

 From this, a rational factfinder could conclude that Emordi was aware of his and Okwilagwe’s

 exclusions.

        Next, it was clear from trial that even after his exclusion, Emordi was substantially involved

 with Elder Care, while the business continued to receive money from Medicare and Medicaid.

 Emordi does not dispute that he was an employee at Elder Care during his exclusion period.

 Doc. 276, Emordi’s Mot., 1. And the evidence at trial showed that he received regular checks from

 Elder Care while he was excluded. Doc. 288, 20:5–21, 95:10–15. Okwilagwe himself signed some of

 these checks to Emordi from one of the Elder Care accounts. See, e.g., id. at 32:15–25 (discussing

 Gov’t Ex. 49). In total, Emordi was paid just over $77,000 from Elder Care accounts during the

 exclusion period. Id. at 35:3–14 (discussing Gov’t Ex. 147 at 7). Additionally, coupled with the

 evidence of their previous venture operating South Medical Supply, there was more evidence that

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 Emordi knew Okwilagwe owned Elder Care during his exclusion period. Specifically, multiple former

 Elder Care employees testified Okwilagwe ran Elder Care. Tr. Taylor, 24:18–25:6; Tr. Adagbon,

 5:9–24; & Tr. Ogabi, 101:3–102:2. One former employee, Michaela Taylor, testified he was at the

 office “all the time.” Tr. Taylor, 16:20–17:5. Taylor also testified that Emordi was at Elder Care

 “everyday” and that there were “25 home health aides that reported to him.” Id. at 17:6–18.

        Along with the circumstances discussed above, the evidence showed that Emordi agreed with

 his codefendants to conceal his and Okwilagwe’s involvement with Elder Care from the health care

 benefit programs. The Government presented evidence at trial showing that immediately after

 Emordi and Okwilagwe were excluded, Emordi no longer received regular checks from Elder Care.

 Doc. 288, Gov’t’s Resp., 11 (citing Gov’t Ex. 38, 51, & 55). Instead, Emordi’s wife started receiving

 checks for approximately the same amount for which Emordi was getting paid before he was

 excluded. Gov’t Ex. 55 at 2–4 & 51 at 6. There was no evidence Emordi’s wife worked at Elder Care

 during this time, but there was evidence, discussed above, that Emordi continued to work at Elder

 Care. Further, the evidence indicates that Emordi was aware that his wife was receiving these checks

 because he endorsed one of them. Doc. 288, Gov’t’s Resp., 11 (comparing signature on Gov’t Ex. 38

 at 1064 with signature on Gov’t Exs. 43 at 9 & 49). There was also evidence that Emordi was

 concealing the fact he worked for Elder Care from his bank because he listed his previous employer,

 South Medical, on his personal account. Doc. 288-1, Gov’t’s App’x (Tr. Hernandez), 256–57

 (referring to Gov’t Ex. 43 at 6).

        The Government next argues that Emordi’s lies to federal agents during their investigation

 betrayed his intent to conceal Elder Care’s true ownership. Doc. 288, Gov’t’s Resp., 11–12.

 Specifically, federal agents went to Elder Care asking to speak to Emordi. Doc. 288-1, Gov’t’s App’x

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 (Tr. Hernandez), 199–200. The agents asked Emordi questions about his employment with Elder

 Care and his exclusion from Medicare and Medicaid. Id. He initially responded that he was not aware

 of the exclusions, but he eventually stated that he remembered that he appealed his exclusion. Id.

 The agents also asked him who the owner of Elder Care was; Emordi responded that Adetutu Etti

 was the owner and that she issued his paychecks. Id. at 200. The Court agrees with the Government

 that there was no evidence at trial that indicated that Etti owned Elder Care. There was also

 evidence that showed Okwilagwe, not Etti, was the signor on most of Emordi’s checks. But when he

 was presented with a check he received from Okwilagwe and appeared to have endorsed himself,

 Emordi stated he did not recognize Okwilagwe’s signature. Id. at 201 (discussing Ex. 37 at 862).

 Thus, Emordi’s statements during this interview do seem to conflict with the evidence at trial and

 could support a rational inference that he was attempting to conceal Elder Care’s true ownership

 because he knew he and Okwilagwe were excluded.

        Finally, the Court notes that Emordi makes a number of objections to the reliability of Agent

 Hernandez’s testimony and her credibility as a witness. Doc. 276, Emordi’s Mot., 5–7. But the Court

 finds no “exceptional circumstances” to upset the jury’s verdict based on these objections. Tarango,

 396 F.3d at 672. Emordi’s counsel was able to bring these credibility attacks to the Court and the

 jury’s attention through his cross-examination of Agent Hernandez at trial. For instance, he cross-

 examined Agent Hernandez on her choices to not obtain a copy of the dismissal of Emordi’s previous

 indictment for health care fraud, Doc. 288-1, Gov’t’s App’x (Tr. Hernandez), 247–49, and to not

 record her interview of Emordi at Elder Care. Id. at 261–62. Emordi’s counsel questioned Agent

 Hernandez on whether she properly recollected the details of the interview and on why the

 Government did not bring another agent to testify that was also present at the interview. Id. at

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 263–65, 273–74. He also crossed Agent Hernandez on testimony from Elder Care employees that

 seemed to contradict some details in her report of her interview with Emordi. Id. at 274–75 (Agent

 Hernandez acknowledging that Taylor testified she was there the day of the interview although the

 report did not note her presence). But the Court finds that the Government responded to many of

 these objections at trial; for example, Agent Hernandez testified that the reason she never obtained

 a copy of the dismissal of Emordi’s indictment was that it was irrelevant to whether he was excluded

 from the Medicare and Medicaid programs. Doc. 287, Tr. Hernandez, 19:11–20:16. And the reason

 the second agent in investigating the case never testified was that he was assigned to a detail in

 Washington, D.C. Doc. 288-1, Gov’t’s App’x (Tr. Hernandez), 276. Further, as for Emordi’s

 argument that Agent Hernandez’s investigative report was incorrect because it failed to mention the

 presence of an Elder Care employee, the Government argues that even if this were an error in the

 report, it was just a minor inadvertence that did not affect other aspects of the report. Doc. 288,

 Gov’t’s Resp., 16. Agent Hernandez also agreed that this was not in the report but that she wished

 it would have been because the information would have been helpful. Doc. 288-1, Gov’t’s App’x (Tr.

 Hernandez), 274–75. The Court finds Agent Hernandez’s testimony and the Government’s

 argument to be a reasonable explanation for the omission. Emordi’s objections do not necessitate a

 finding that the entire report was inaccurate or tainted with error.

         In all, the Court finds that Emordi’s objections to the testimony of the Government’s

 witnesses and the sufficiency of the evidence are insufficient to upset the jury’s verdict in this case.

 After hearing the evidence at trial and reviewing it again here, the Court concludes that a rational

 jury could have found beyond a reasonable doubt that Emordi conspired to commit health care fraud.

 Furthermore, the weight of the evidence supports the jury’s verdict and no manifest injustice will be

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 done in letting it stand.

                                              IV.

                                       CONCLUSION

         For these reasons, the Court DENIES Defendant Paul Emordi’s Motion for Judgment of

 Acquittal and For a New Trial (Doc. 276).

         SO ORDERED.

         SIGNED: February 6, 2019.

                                             ________________________________

                                             JANE J. BOYLE
                                             UNITED STATES DISTRICT JUDGE




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